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1    DANIEL J. BRODERICK, Bar# 89424
     Federal Defender
2    Dennis S. Waks, Bar #142581
     Supervising Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone (916) 498-5700
5    Attorney for Defendant
     KHAMALE KEOVILAY
6
                         IN THE UNITED STATES DISTRICT COURT
7
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
8
9
     UNITED STATES OF AMERICA,      )
10                                  )     Cr.S. 09-222-GEB
                     Plaintiff,     )
11                                  )     STIPULATION AND ORDER
               v.                   )
12                                  )
     KHAMALE KEOVILAY, et al.,      )     DATE: January 14, 2011
13                                  )     TIME: 9:00 a.m.
                     Defendants.    )     JUDGE: Hon. Garland E. Burrell
14                                  )
     __________________________     )
15
16
          It is hereby stipulated and agreed to by the United States of
17
     America through HEIKO P. COPPOLA, Assistant United States Attorney, and
18
     TODD D. LERAS, Assistant United States Attorney, defendant, KHAMALE
19
     KEOVILAY, by and though his counsel, DENNIS S. WAKS, Supervising
20
     Assistant Federal Defender, defendant, DAVID CHENG by and through his
21
     attorney, ALICE W. WONG, defendant MINGH THAM, by and through his
22
     attorney MICHAEL B. BIGELOW, defendant DUNG NGUYEN, by through his
23
     attorney MICHAEL D. LONG, SANG HIN SAELEE, by and through his attorney,
24
     OLAF W. HEDBERG, defendant LONG NGUYEN, by and through his attorney,
25
     CHRISTOPHER H. WING, and defendant TUAN DAO, by and through his
26
     attorney KEN GIFFARD, that the status conference set for Friday,
27
     October 22, 2010, be continued to a status conference on Friday,
28
           Case 2:09-cr-00222-TLN Document 130 Filed 10/20/10 Page 2 of 3


1    January 14, 2011, at 9:00 a.m.
2         This continuance is being requested because defense counsel needs
3    additional time to prepare, to review discovery, and to interview
4    witnesses.   The parties have received a large amount of discovery,
5    including Title III documents.
6         Furthermore, the parties stipulate and agree that the interest of
7    justice served by granting this continuance outweighs the best interest
8    of the public and the defendants in a speedy trial.          (18 U.S.C. §
9    3161(h)(7)(A)).
10        Speedy trial time is to be excluded from the date of this order
11   through the date of the status conference set for January 14, 2011,
12   pursuant to 18 U.S.C. § 3161 (h)(7)(B)(iv) [reasonable time to prepare]
13   (Local Code T4).
14                                     Respectfully submitted,
                                       DANIEL J. BRODERICK
15                                     Federal Defender
16   DATED: October 19, 2010           /S/ Dennis S. Waks
17                                     DENNIS S. WAKS
                                       Supervising Assistant Federal Defender
18                                     Attorney for Defendant
                                       KHAMALE KEOVILAY
19
     DATED: October 19, 2010
20
                                       /s/ Dennis S. Waks for
21
                                       ALICE W. WONG, Attorney for
22                                     DAVID CHENG
23   DATED: October 19, 2010
                                       /s/ Dennis S. Waks for
24
                                       MICHAEL B. BIGELOW, Attorney for
25                                     MINH THAM
26
     DATED: October 19, 2010           /s/ Dennis S. Waks for
27
                                       MICHAEL D. LONG, Attorney for
28                                     DUNG NGUYEN


                                             2
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1    DATED: October 19, 2010              /s/ Dennis S. Waks for
2                                         OLAF W. HEDBERG, Attorney for
                                          SANG HIN SAELEE
3
4
     DATED: October 19, 2010
5                                         /s/ Dennis S. Waks for
6                                         CHRISTOPHER H. WING, Attorney for
                                          LONG NGUYEN
7
8    DATED: October 19, 2010
                                          /s/ Dennis S. Waks for
9
                                          KEN GIFFARD Attorney for
10                                        TUAN DAO
11
12                                        BENJAMIN B. WAGNER
                                          United States Attorney
13
14   DATED: October 19, 2010              /s/ Dennis S. Waks for
15                                        HEIKO P. COPPOLA
                                          Assistant U.S. Attorney
16
                                          /s/ Dennis S. Waks for
17
                                          TODD D. LERAS
18                                        Assistant U.S. Attorney
19
                                          O R D E R
20
21                IT IS SO ORDERED.
22
23   Dated:     October 20, 2010

24
25                                        GARLAND E. BURRELL, JR.
                                          United States District Judge
26
27
28


                                                3
